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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA



  STEVE HARTEL, Individually and On                    Case No.
  Behalf of All Others Similarly Situated,

                                    Plaintiff,         CLASS ACTION COMPLAINT
                         v.
                                                       JURY TRIAL DEMANDED
  THE GEO GROUP, INC., GEORGE C.
  ZOLEY, and BRIAN R. EVANS,

                                    Defendants.


        Plaintiff Steve Hartel (“Plaintiff”), individually and on behalf of all other persons similarly

 situated, by Plaintiff’s undersigned attorneys, for Plaintiff’s complaint against Defendants, alleges

 the following based upon personal knowledge as to Plaintiff and Plaintiff’s own acts, and

 information and belief as to all other matters, based upon, inter alia, the investigation conducted

 by and through Plaintiff’s attorneys, which included, among other things, a review of the

 Defendants’ public documents, conference calls and announcements made by Defendants, United

 States (“U.S.”) Securities and Exchange Commission (“SEC”) filings, wire and press releases

 published by and regarding The GEO Group, Inc. (“GEO Group” or the “Company”), analysts’

 reports and advisories about the Company, and information readily obtainable on the Internet.

 Plaintiff believes that substantial additional evidentiary support will exist for the allegations set

 forth herein after a reasonable opportunity for discovery.

                                   NATURE OF THE ACTION

        1.      This is a federal securities class action on behalf of a class consisting of all persons

 other than Defendants who purchased or otherwise acquired GEO Group securities between


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 February 27, 2020 and June 16, 2020, both dates inclusive (the “Class Period”), seeking to recover

 damages caused by Defendants’ violations of the federal securities laws and to pursue remedies

 under Sections 10(b) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange Act”) and

 Rule 10b-5 promulgated thereunder, against the Company and certain of its top officials.

        2.      GEO Group is purportedly the first fully integrated equity real estate investment

 trust specializing in the design, financing, development, and operation of secure facilities,

 processing centers, and community reentry centers in the U.S., Australia, South Africa, and the

 United Kingdom. GEO Group is also purportedly a leading provider of enhanced in-custody

 rehabilitation, post-release support, electronic monitoring, and community-based programs. The

 Company’s worldwide operations include the ownership and/or management of, among other

 facilities, halfway houses in the U.S.

        3.      Between late 2019 and early 2020, a novel strain of the coronavirus disease,

 commonly referred to as COVID-19, became an ongoing global pandemic, with the outbreak first

 identified in Wuhan, China, in December 2019. The virus quickly spread to other countries,

 including the U.S., prompting state, federal, and private parties to enact various health and safety

 measures to halt the spread of the disease, which has since claimed hundreds of thousands of lives,

 with over one hundred thousand deaths in the U.S. alone. To date, the State of Kansas (“Kansas”)

 has experienced at least 12,970 cases and 261 deaths related to COVID-19.

        4.      Throughout the Class Period, Defendants made materially false and misleading

 statements regarding the Company’s business, operational and compliance policies. Specifically,

 Defendants made false and/or misleading statements and/or failed to disclose that: (i) GEO Group

 maintained woefully ineffective COVID-19 response procedures; (ii) those inadequate procedures

 subjected residents of the Company’s halfway houses to significant health risks; (iii) accordingly,



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 the Company was vulnerable to significant financial and/or reputational harm; and (iv) as a result,

 the Company’s public statements were materially false and misleading at all relevant times.

         5.      On June 17, 2020, during pre-market hours, The Intercept published an article

 entitled “GEO Group’s Blundering Response to the Pandemic Helped Spread Coronavirus in

 Halfway Houses.”       The article reported details of a significant COVID-19 outbreak at the

 Grossman Center, a halfway house in Leavenworth, Kansas, operated by GEO Group—which

 “was for weeks the hardest hit federal halfway house in the country” in terms of confirmed cases

 of COVID-19.       Citing interviews with residents of the Grossman Center, The Intercept

 characterized GEO Group’s response as “blundering” and reported “that the virus spread not in

 spite of the facility’s efforts to contain it, but because of it.” According to the article, the Grossman

 Center continued to keep its residents in overcrowded conditions without enforcing personal

 protective measures even as COVID-19 diagnoses at the facility increased.

         6.      On this news, GEO Group’s stock price fell $1.03 per share, or 7.8%, to close at

 $12.17 per share on June 17, 2020.

         7.      As a result of Defendants’ wrongful acts and omissions, and the precipitous decline

 in the market value of the Company’s securities, Plaintiff and other Class members have suffered

 significant losses and damages.

                                   JURISDICTION AND VENUE

         8.      The claims asserted herein arise under and pursuant to Sections 10(b) and 20(a) of

 the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the

 SEC (17 C.F.R. § 240.10b-5).

         9.      This Court has jurisdiction over the subject matter of this action pursuant to 28

 U.S.C. § 1331 and Section 27 of the Exchange Act.



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        10.     Venue is proper in this Judicial District pursuant to Section 27 of the Exchange Act

 (15 U.S.C. § 78aa) and 28 U.S.C. § 1391(b). GEO Group is headquartered in this Judicial District,

 Defendants conduct business in this Judicial District, and a significant portion of Defendants’

 actions took place within this Judicial District.

         11.     In connection with the acts alleged in this complaint, Defendants, directly or

 indirectly, used the means and instrumentalities of interstate commerce, including, but not limited

 to, the mails, interstate telephone communications, and the facilities of the national securities

 markets.

                                              PARTIES

        12.     Plaintiff, a resident of Lakewood, Colorado, acquired GEO Group securities at

 artificially inflated prices during the Class Period, as set forth in the attached Certification, and

 was damaged upon the revelation of the alleged corrective disclosures.

        13.     Defendant GEO Group is incorporated in Florida, with principal executive offices

 located at 4955 Technology Way, Boca Raton, Florida 33431. The Company’s common stock

 trades in an efficient market on the New York Stock Exchange (“NYSE”) under the ticker symbol

 “GEO.”

        14.     Defendant George C. Zoley (“Zoley”) has served as GEO Group’s Chief Executive

 Officer at all relevant times.

        15.     Defendant Brian R. Evans (“Evans”) has served as GEO Group’s Chief Financial

 Officer at all relevant times.

        16.     Defendants Zoley and Evans are sometimes referred to herein as the “Individual

 Defendants.”




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        17.      The Individual Defendants possessed the power and authority to control the

 contents of GEO Group’s SEC filings, press releases, and other market communications. The

 Individual Defendants were provided with copies of GEO Group’s SEC filings and press releases

 alleged herein to be misleading prior to or shortly after their issuance and had the ability and

 opportunity to prevent their issuance or to cause them to be corrected. Because of their positions

 with GEO Group, and their access to material information available to them but not to the public,

 the Individual Defendants knew that the adverse facts specified herein had not been disclosed to

 and were being concealed from the public, and that the positive representations being made were

 then materially false and misleading. The Individual Defendants are liable for the false statements

 and omissions pleaded herein.

        18.      GEO Group and the Individual Defendants are collectively referred to herein as

 “Defendants.”

                                 SUBSTANTIVE ALLEGATIONS

                                           Background

        19.      GEO Group is purportedly the first fully integrated equity real estate investment

 trust specializing in the design, financing, development, and operation of secure facilities,

 processing centers, and community reentry centers in the U.S., Australia, South Africa, and the

 United Kingdom. GEO Group is also purportedly a leading provider of enhanced in-custody

 rehabilitation, post-release support, electronic monitoring, and community-based programs. The

 Company’s worldwide operations include the ownership and/or management of, among other

 facilities, halfway houses in the U.S.

        20.      Between late 2019 and early 2020, a novel strain of the coronavirus disease,

 commonly referred to as COVID-19, became an ongoing global pandemic, with the outbreak first



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 identified in Wuhan, China, in December 2019. The virus quickly spread to other countries,

 including the U.S., prompting state, federal, and private parties to enact various health and safety

 measures to halt the spread of the disease, which has since claimed hundreds of thousands of lives,

 with over one hundred thousand deaths in the U.S. alone. To date, Kansas has experienced at least

 12,970 cases and 261 deaths related to COVID-19.

         Materially False and Misleading Statements Issued During the Class Period

        21.     The Class Period begins on February 27, 2020, the day after GEO Group filed an

 Annual Report on Form 10-K with the SEC, reporting the Company’s financial and operating

 results for the quarter ended December 31, 2019 (the “2019 10-K”). With respect to “Quality of

 Operations,” the 2019 10-K stated, in relevant part:

        We operate each facility in accordance with our company-wide policies and
        procedures and with the standards and guidelines required under the relevant
        management contract. For many facilities, the standards and guidelines include
        those established by the American Correctional Association, or ("ACA"). The ACA
        is an independent organization of corrections professionals, which establishes
        correctional facility standards and guidelines that are generally acknowledged as a
        benchmark by governmental agencies responsible for correctional facilities. Many
        of our contracts in the United States require us to seek and maintain ACA
        accreditation for our facilities. We have sought and received ACA accreditation and
        re-accreditation for all such facilities. We achieved a median re-accreditation score
        of 100% as of December 31, 2019. Approximately 90% of our 2019 U.S. Secure
        Services revenue was derived from ACA accredited facilities for the year ended
        December 31, 2019. We have also achieved and maintained accreditation by The
        Joint Commission at five of our secure service facilities and at nine of our youth
        services locations. We have been successful in achieving and maintaining
        accreditation under the National Commission on Correctional Health Care
        ("NCCHC") in a majority of the facilities that we currently operate. The NCCHC
        accreditation is a voluntary process which we have used to establish comprehensive
        health care policies and procedures to meet and adhere to the ACA standards. The
        NCCHC standards, in most cases, exceed ACA Health Care Standards and we have
        achieved this accreditation at 14 of our U.S. Secure Services facilities and at one
        youth services location. Additionally, B.I. Incorporated ("BI") has achieved a
        certification for ISO 9001:2008 for the design, production, installation and
        servicing of products and services produced by the electronic monitoring business
        units, including electronic home arrest and electronic monitoring technology



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         products and monitoring services, installation services, and automated caseload
         management services.

         22.       Further, with respect to “Corporate Social Responsibility,” the 2019 10-K stated,

 in relevant part:

         We have referenced the GRI Standards and the UN Guiding Principles on Business
         and Human Rights as we have recognized the need for a transparent and disciplined
         enterprise-wide approach. In our pursuit of this approach, we have begun with the
         following set of ongoing objectives:

                  Provide greater transparency for our stakeholders and the general public
                   with respect to our various efforts in all our facilities aimed at respecting
                   human rights.

                  Enhance our ability to flag potential issues in all areas of our operations and
                   compress the time it takes to respond with corrective measures.

                  Use widely accepted methodologies for evaluating performance and setting
                   objectives for improvements in corporate governance, corporate social
                   policy, environmental impact and energy conservation.

         23.       In addition, the 2019 10-K touted numerous of the Company’s “Competitive

 Strengths,” including:

         Leading Secure Services Provider Uniquely Positioned to Offer a Continuum of Care

                 We are the second largest provider of public-private partnership secure
         services and processing center facilities worldwide and the largest provider of
         community-based reentry services, youth services and electronic monitoring
         services in the U.S. secure services sector. We believe these leading market
         positions and our diverse and complementary service offerings enable us to meet
         the growing demand from our clients for comprehensive services throughout the
         entire corrections lifecycle. Our continuum of care platform enables us to provide
         consistency and continuity in case management, which we believe results in a
         higher quality of care for individuals in our care, reduces recidivism, lowers overall
         costs for our clients, improves public safety and facilitates successful reintegration
         of individuals back into society.

                                                  ***

         Large Scale Operator with National Presence




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                 We operate the seventh largest correctional system in the U.S. by number
         of beds, including the federal government and all 50 states. We currently have
         secure services operations in approximately 33 states and offer electronic
         monitoring services in every state. In addition, we have extensive experience in
         overall facility operations, including staff recruitment, administration, facility
         maintenance, food service, security, and in the supervision, treatment and education
         of individuals within our care. We believe our size and breadth of service offerings
         enable us to generate economies of scale which maximize our efficiencies and
         allows us to pass along cost savings to our clients. Our national presence also
         positions us to bid on and develop new facilities across the U.S.

 (Emphasis in original.)

         24.    Finally, with respect to “Business Strategies,” the 2019 10-K stated, in relevant

 part:

         Provide High Quality, Comprehensive Services and Cost Savings Throughout the
         Corrections Lifecycle

                 Our objective is to provide federal, state and local governmental agencies
         with a comprehensive offering of high quality, essential services at a lower cost
         than they themselves could achieve. We believe government agencies facing
         budgetary constraints will increasingly seek to outsource a greater proportion of
         their correctional needs to reliable providers that can enhance quality of service at
         a reduced cost. We believe our expanded and diversified service offerings uniquely
         position us to bundle our high quality services and provide a comprehensive
         continuum of care for our clients, which we believe will lead to lower cost outcomes
         for our clients and larger scale business opportunities for us.

 (Emphasis in original.)

         25.    Appended to the 2019 10-K as exhibits were signed certifications pursuant to the

 Sarbanes-Oxley Act of 2002 (“SOX”) by the Individual Defendants, attesting that “the information

 contained in the [2019 10-K] fairly presents, in all material respects, the financial condition and

 results of operations of the Company.”

         26.    On April 30, 2020, GEO Group hosted an earnings call with investors and analysts

 to discuss the Company’s financial and operating results for the first quarter of 2020. Throughout




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 the call, Defendant Zoley touted the Company’s COVID-19 response procedures, stating, in

 relevant part:

        Some of our employees live in communities that have endured significant hardship
        and a few of our facilities have experienced cases of COVID-19 in both on our staff
        and individuals entrusted to our care. From the outset of this global pandemic our
        corporate, regional and field staff have implemented comprehensive steps to
        address and mitigate the risks of COVID-19 to all of those in our care and our
        employees.

        Ensuring the health and safety of all those in our facilities and our employees has
        always been our number one priority. As a longstanding provider of the central
        government services we have the experience for the implementation of best
        practices for the prevention, assessment and the management of infectious diseases.

        All of our facilities operate safely and without overcrowded conditions. All of our
        facilities have access to regular handwashing with clean water and soap, as well as
        ample hygiene and sanitation products. All of our GEO Group Secure facilities
        provide 24/7 access to healthcare.

                                                ***

        As you've heard today, we have taken comprehensive steps to address and mitigate
        the risk of COVID-19 across all of our facilities and programs. Ensuring the health
        and safety of all of those in our care and our employees has always been our number
        one priority.

        We are committed to working closely with our government agency partners and
        local health officials across the country as well as continue to fight the spread of
        COVID-19. Despite the significant challenges associated with this global
        pandemic, our business, earnings and cash flows remain resilient.

        27.       Further, other GEO Group executives touted the Company’s COVID-19 response

 procedures on the earnings call, stating, in relevant part:

        We immediately updated our policies and procedures to include best practices for
        the prevention, assessment and management of COVID-19, again relying on the
        guidance issued by the CDC. These best practices include the implementation of
        quarantine and cohorting procedures to isolate confirmed and presumptive cases of
        COVID-19, including medical isolation and the use of airborne infection isolation
        rooms at our facilities.

        We also provided educational guidance to our employees and individuals in our
        care on the best preventive measures to avoid the spread of COVID-19, such as

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       frequent and careful handwashing, avoiding touching areas of the face including
       facial hair, avoiding individuals exhibiting flu-like symptoms, proper cough and
       sneeze etiquette, social distancing requirements and adjustments to laundry and
       meal schedules.

       We have increased the distribution of personal hygiene products including soap,
       shampoo and bodywash and tissue paper to at least twice per week at all of our
       facilities and more frequently if needed. Additionally, bars of soap or soap
       dispensers are placed at each sink daily for hand washing.

       We have also deployed specialized sanitation teams to sterilize high-contact areas
       of our facilities and have developed intensive schedules and procedures for the
       cleaning and disinfecting of facility spaces above and beyond normal cleaning
       activities. We have procured additional cleaning equipment and sanitation products
       that are proven health care-grade disinfectants.

       We advised our employees to remain home if they exhibit flu-like symptoms. And
       we've exercised flexible paid leave and paid-time-off policies to allow for
       employees to remain home if they exhibit flu-like symptoms or to care for a family
       member. We engaged with our government partners to promptly suspend
       nonessential visitation at all of our facilities and we have employed additional
       measures during the intake process in all of our facilities to include screening
       specific to COVID-19.

       These additional screening procedures include temperature checks for all staff and
       any legally required visits before entering our facilities as well. Verbal medical
       screening questionnaires are also available. We ordered and received swab kits for
       COVID-19 from a national supplier and we enacted quarantine and testing policies
       for any employees who may have come into contact with any individual who has
       tested positive for COVID-19.

       At every one of our facilities we have worked closely with our government agency
       partners and local health officials to develop COVID-19 emergency plans and
       testing policies for the individuals in our care.

       In March of this year, we started procuring additional personal protective
       equipment and began issuing if clinically needed at facilities impacted by COVID-
       19. And over the course of April, we coordinated with our government partners to
       distribute personal protective equipment including face masks to all staff, inmates
       and detainees as a precautionary measure at all of our GEO Secure Services
       facilities.

                                             ***

       Consistent with the efforts undertaken by our GEO Secure Services facilities, all of
       our residential facilities and GEO Reentry and GEO Youth Services had issued

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         COVID-19 guidance consistent with the guidance issued by the Centers for Disease
         Control and Prevention.

         We have updated our policies and procedures to include best practices for the
         prevention, assessment and management of COVID-19 including the
         implementation of quarantine and cohorting procedures to isolate confirmed and
         presumptive cases of COVID-19.

         We have provided educational guidance to our employees and all individuals in our
         care on the best preventative measures to avoid the spread of COVID-19 and we
         have increased the distribution of personal hygiene products.

         Similar to our GEO Secure Services facilities, we have deployed specialized
         sanitation teams to sterilize high-contact areas of our facilities and have developed
         special schedules and procedures for the cleaning and disinfecting of facility spaces
         using sanitation products that are proven health care-grade disinfectants.

         We have also advised our employees to remain home if they exhibit flu-like
         symptoms and have exercised flexible paid leave and paid-time-off policies to
         allow for employees to remain home as needed.

         We have implemented additional screening measures for entry into our facilities
         and we are providing face masks to all staff and residents. At all of our facilities,
         we have worked closely with our government agency partners and local health
         officials to develop COVID-19 emergency plans and testing policies consistent
         with CDC guidance.

         We have also established rapid response teams to be deployed to assist facilities
         that have been impacted by COVID-19. The COVID-19 pandemic has affected
         many communities where our employees live especially in the Northeast.

         28.       On May 6, 2020, GEO Group filed a Quarterly Report on Form 10-Q with the SEC,

  reporting the Company’s financial and operating results for the quarter ended March 31, 2020 (the

  “Q1 2020 10-Q”). With respect to “Health and Safety,” the Q1 2020 10-Q stated, in relevant part:

         As the COVID-19 pandemic has impacted communities across the United States
         and around the world, our employees and facilities have also been impacted by the
         spread of COVID-19. Ensuring the health and safety of our employees and all those
         in our care has always been our number one priority. As a longstanding provider of
         essential government services, we have experience with the implementation of best
         practices for the prevention, assessment, and management of infectious diseases.

                  All of our facilities provide 24/7 access to healthcare;



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                  All of our ICE Processing Centers typically have approximately double the
                   number of healthcare staff, compared to state correctional facilities;
                  Many of our facilities are equipped with Airborne Infection Isolation
                   Rooms;
                  All of our facilities operate safely and without any overcrowded conditions;
                   and
                  All of our facilities have access to regular handwashing with clean water
                   and soap.

         29.       Further, the Q1 2020 10-Q touted a list of steps that the Company purportedly

  implemented at the outset of the global pandemic, including:

                  We issued guidance to all of our facilities, consistent with the guidance
                   issued for correctional and detention facilities by the Centers for Disease
                   Control and Prevention Interim Guidance on Management of Coronavirus
                   Disease 2019 (Covid-19) in Correctional and Detention Facilities;
                  We updated our policies and procedures to include best practices for the
                   prevention, assessment, and management of COVID-19, including the
                   implementation of quarantine and cohorting procedures to isolate confirmed
                   and presumptive cases of COVID-19, including medical isolation and the
                   use of Airborne Infection Isolation Rooms;
                  We ordered and received swab kits for COVID-19 from a national supplier,
                   and we enacted quarantine and testing procedures for any employees who
                   may have come into contact with any individual who has tested positive for
                   COVID-19;
                  In March 2020, we started procuring additional Personal Protective
                   Equipment and began issuing it as clinically needed at facilities impacted
                   by COVID-19;
                  Over the course of April 2020, we coordinated with our government
                   partners to distribute Personal Protective Equipment, including face masks
                   to all staff, inmates, detainees and residents as a precautionary measure at
                   all of our Federal Bureau of Prisons facilities, ICE Processing Centers, U.S.
                   Marshals facilities, state correctional facilities, local correctional facilities
                   and jails, residential reentry centers, and youth services residential facilities;
                  We provided educational guidance to our employees and individuals in our
                   care on the best preventative measures to avoid the spread of COVID-19
                   such as frequent and careful handwashing, avoiding touching areas of the
                   face, including facial hair, avoiding individuals exhibiting flu-like
                   symptoms, proper cough and sneeze etiquette, social distancing
                   requirements and adjustments to laundry and meal schedules;
                  We increased the frequency of distribution of personal hygiene products,
                   including soap, shampoo and body wash and tissue paper, and we are
                   ensuring the daily availability of bars of soap or soap dispensers at each sink
                   for hand washing in all of our facilities;


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                   We advised our employees to remain home if they exhibit flu-like
                    symptoms, and we have exercised flexible paid leave and paid time off
                    policies to allow for employees to remain home if they exhibit flu-like
                    symptoms or to care for a family member;
                   We procured additional cleaning equipment and sanitation products that are
                    proven healthcare grade disinfectants;
                   We deployed specialized sanitation teams to sterilize high-contact areas at
                    our facilities and have developed intensive schedules and procedures for the
                    cleaning and disinfecting of facility spaces above and beyond normal
                    cleaning activities;
                   At every one of our facilities, we have worked closely with our government
                    agency partners and local health officials to develop COVID-19 emergency
                    plans and testing policies for the individuals in our care; and
                   We engaged with our government agency partners to promptly suspend
                    non-essential visitation at all of our facilities, and we have employed
                    additional measures during the intake and entry process at all of our
                    facilities to include screening specific to COVID-19, including temperature
                    checks for all staff and any legally required visitors before entering our
                    facilities, as well as, verbal medical screening questionnaires.

          30.       Appended to the Q1 2020 10-Q as exhibits were signed certifications pursuant to

  SOX by the Individual Defendants, attesting that “the information contained in the [Q1 2020 10-

  Q] fairly presents, in all material respects, the financial condition and results of operations of the

  Company.”

          31.       On June 1, 2020, GEO Group released a statement entitled “GEO Group Has Taken

  Comprehensive Steps to Address and Mitigate the Risks of COVID-19 to Those in Our Care and

  Our Employees.” The statement touted the Company’s response procedures to COVID-19, stating,

  in relevant part:

          As the COVID-19 pandemic has impacted communities across the United States
          and around the world, our employees and facilities have also been impacted by the
          spread of COVID-19. Ensuring the health and safety of our employees and all those
          in our care has always been our number one priority. As a longstanding provider of
          essential government services, we have experience with the implementation of best
          practices for the prevention, assessment, and management of infectious diseases.

                   All of our facilities operate safely and without overcrowded conditions.
                   All of our facilities have access to regular handwashing with clean water
                    and soap.

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                  All of our secure services facilities provide 24/7 access to healthcare.
                  All of our U.S. Immigration and Customs Enforcement (“ICE”) Processing
                   Centers typically have approximately double the number of healthcare staff,
                   compared to state correctional facilities.
                  Most of our facilities are equipped with Airborne Infection Isolation Rooms

         32.       Further, the statement touted a list of steps that the Company purportedly

  implemented at the outset of the global pandemic, including:

                  We issued guidance to all our facilities, consistent with the guidance issued
                   for correctional and detention facilities by the Centers for Disease Control
                   and Prevention.
                  We updated our policies and procedures to include best practices for the
                   prevention, assessment, and management of COVID-19, including the
                   implementation of quarantine and cohorting procedures to isolate confirmed
                   and presumptive cases of COVID-19, including medical isolation and the
                   use of Airborne Infection Isolation Rooms.
                  We provided educational guidance to our employees and individuals in our
                   care on the best preventative measures to avoid the spread of COVID-19
                   such as frequent and careful handwashing; avoiding touching areas of the
                   face, including facial hair; avoiding individuals exhibiting flu-like
                   symptoms; proper cough and sneeze etiquette; social distancing
                   requirements; and adjustments to laundry and meal schedules.
                  We increased the frequency of distribution of personal hygiene products,
                   including soap, shampoo and body wash, and tissue paper, and we are
                   ensuring the daily availability of bars of soap or soap dispensers at each sink
                   for hand washing in all of our facilities.
                  We deployed specialized sanitation teams to sterilize high-contact areas of
                   our facilities and have developed intensive schedules and procedures for the
                   cleaning and disinfecting of facility spaces above and beyond normal
                   cleaning activities.
                  We procured additional cleaning equipment and sanitation products that are
                   proven healthcare grade disinfectants.
                  We advised our employees to remain home if they exhibit flu-like
                   symptoms, and we have exercised flexible paid leave and Paid Time Off
                   policies to allow for employees to remain home if they exhibit flu-like
                   symptoms or to care for a family member.
                  We engaged with our government agency partners to promptly suspend
                   non-essential visitation at all of our facilities, and we have employed
                   additional measures during the intake and entry process at all of our
                   facilities to include screening specific to COVID-19, including temperature
                   checks for all staff and any legally required visitors before entering our
                   facilities, as well as, verbal medical screening questionnaires.
                  We ordered and received swab kits for COVID-19 from a national supplier,
                   and we enacted quarantine and testing policies for any employees who may

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                   have come into contact with any individual who has tested positive for
                   COVID-19.
                  At every one of our facilities, we have worked closely with our government
                   agency partners and local health officials to develop COVID-19 emergency
                   plans and testing policies for the individuals in our care.
                  In March of 2020, we started procuring additional Personal Protective
                   Equipment and began issuing it as clinically needed at facilities impacted
                   by COVID-19.
                  Over the course of April of 2020, we coordinated with our government
                   agency partners to distribute Personal Protective Equipment, including
                   facemasks to all staff, inmates, detainees, and residents as a precautionary
                   measure at all of our Federal Bureau of Prisons facilities, ICE Processing
                   Centers, U.S. Marshals facilities, state correctional facilities, local
                   correctional facilities and jails, residential reentry centers, and youth
                   services residential facilities.
                  As a service provider, GEO has fully disclosed all information related to
                   COVID-19 testing, cases, and fatalities to our federal, state, and local
                   government partners, as well as state and local health officials, throughout
                   the course of the pandemic.

         33.       The statements referenced in ¶¶ 19-32 were materially false and misleading because

  Defendants made false and/or misleading statements, as well as failed to disclose material adverse

  facts about the Company’s business, operational and compliance policies.               Specifically,

  Defendants made false and/or misleading statements and/or failed to disclose that: (i) GEO Group

  maintained woefully ineffective COVID-19 response procedures; (ii) those inadequate procedures

  subjected residents of the Company’s halfway houses to significant health risks; (iii) accordingly,

  the Company was vulnerable to significant financial and/or reputational harm; and (iv) as a result,

  the Company’s public statements were materially false and misleading at all relevant times.

                                     The Truth Begins to Emerge

         34.       On June 17, 2020, during pre-market hours, The Intercept published an article

  entitled “GEO Group’s Blundering Response to the Pandemic Helped Spread Coronavirus in

  Halfway Houses.”       The article reported details of a significant COVID-19 outbreak at the

  Grossman Center, a halfway house in Leavenworth, Kansas, operated by GEO Group—which


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  “was for weeks the hardest hit federal halfway house in the country” in terms of confirmed cases

  of COVID-19.        Citing interviews with residents of the Grossman Center, The Intercept

  characterized GEO Group’s response as “blundering” and reported “that the virus spread not in

  spite of the facility’s efforts to contain it, but because of it.” According to the article, the Grossman

  Center continued to keep its residents in overcrowded conditions without enforcing personal

  protective measures even as COVID-19 diagnoses at the facility increased.

          35.     For example, the article referenced photos of men in a crowded bunk in which

  “some wore masks but most did not,” and suggested that:

          Contrary to the claim that GEO Group was prepared from the outset to respond to
          the pandemic, one resident who arrived at the Grossman Center in March said the
          facility had done “absolutely nothing” to mitigate the virus, apart from suspending
          the 42-hour passes that allow residents to go see family, as ordered by the BOP. At
          one point, he said, “they taped up these benches and said that we had to sit, like, a
          certain distance apart from one another. … But you have to understand, they have
          us in these units that are super small,” with a limited number of bathroom stalls,
          sinks, and showers. “So basically regardless of the protocols they try to do outside
          the unit, inside the unit, they literally have us shoved in on top of each other. So
          there’s really no way for us to have any type of distancing. It’s impossible.”

  Further, the article cited reports that residents were kept in the same areas as residents who tested

  positive for the virus, and that residents had to clean their areas themselves upon being moved

  from dorm to dorm. In addition, the article indicated that members of the staff continued to work

  despite feeling ill, and that residents were being placed in the halfway house even after receiving

  instructions to self-quarantine. Finally, the article stated, in relevant part, that:

          All of the residents told The Intercept that they were disturbed by the lack of
          urgency in providing medical care. “It’s pretty tough dealing with being so sick
          with Covid-19 in this facility because the people that run it have no concern for the
          fact that we’re actually sick,” one man said. “It’s just like statistical number
          processing.” Another resident called it worse than prison. “Mentally I’m going
          crazy,” they said. Despite the outdoor recreation area, they were not being allowed
          out for fresh air. “We’re in this room with only one window, and they have film
          over the window, so we can’t see outside.”



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          Today most of the people who spoke to The Intercept are no longer in the halfway
          house. The director has returned to work, and people are going back to work on the
          outside — although not at the Triumph plant. Otherwise, “it doesn’t seem like much
          has changed as far as their safety measures go,” one resident said.

          36.     On this news, GEO Group’s stock price fell $1.03 per share, or 7.8%, to close at

  $12.17 per share on June 17, 2020.

          37.     As a result of Defendants’ wrongful acts and omissions, and the precipitous decline

  in the market value of the Company’s securities, Plaintiff and other Class members have suffered

  significant losses and damages.

                         PLAINTIFF’S CLASS ACTION ALLEGATIONS

          38.     Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

  Procedure 23(a) and (b)(3) on behalf of a Class, consisting of all those who purchased or otherwise

  acquired GEO Group securities during the Class Period (the “Class”); and were damaged upon the

  revelation of the alleged corrective disclosures. Excluded from the Class are Defendants herein,

  the officers and directors of the Company, at all relevant times, members of their immediate

  families and their legal representatives, heirs, successors or assigns and any entity in which

  Defendants have or had a controlling interest.

          39.     The members of the Class are so numerous that joinder of all members is

  impracticable. Throughout the Class Period, GEO Group securities were actively traded on the

  NYSE. While the exact number of Class members is unknown to Plaintiff at this time and can be

  ascertained only through appropriate discovery, Plaintiff believes that there are hundreds or

  thousands of members in the proposed Class. Record owners and other members of the Class may

  be identified from records maintained by GEO Group or its transfer agent and may be notified of

  the pendency of this action by mail, using the form of notice similar to that customarily used in

  securities class actions.

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         40.       Plaintiff’s claims are typical of the claims of the members of the Class as all

  members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

  federal law that is complained of herein.

         41.       Plaintiff will fairly and adequately protect the interests of the members of the Class

  and has retained counsel competent and experienced in class and securities litigation. Plaintiff has

  no interests antagonistic to or in conflict with those of the Class.

         42.       Common questions of law and fact exist as to all members of the Class and

  predominate over any questions solely affecting individual members of the Class. Among the

  questions of law and fact common to the Class are:

                   whether the federal securities laws were violated by Defendants’ acts as alleged
                    herein;

                   whether statements made by Defendants to the investing public during the Class
                    Period misrepresented material facts about the business, operations and
                    management of GEO Group;

                   whether the Individual Defendants caused GEO Group to issue false and
                    misleading financial statements during the Class Period;

                   whether Defendants acted knowingly or recklessly in issuing false and misleading
                    financial statements;

                   whether the prices of GEO Group securities during the Class Period were
                    artificially inflated because of the Defendants’ conduct complained of herein; and

                   whether the members of the Class have sustained damages and, if so, what is the
                    proper measure of damages.

         43.       A class action is superior to all other available methods for the fair and efficient

  adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the

  damages suffered by individual Class members may be relatively small, the expense and burden

  of individual litigation make it impossible for members of the Class to individually redress the

  wrongs done to them. There will be no difficulty in the management of this action as a class action.

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          44.       Plaintiff will rely, in part, upon the presumption of reliance established by the fraud-

  on-the-market doctrine in that:

                     Defendants made public misrepresentations or failed to disclose material facts
                      during the Class Period;

                     the omissions and misrepresentations were material;

                     GEO Group securities are traded in an efficient market;

                     the Company’s shares were liquid and traded with moderate to heavy volume
                      during the Class Period;

                     the Company traded on the NYSE and was covered by multiple analysts;

                     the misrepresentations and omissions alleged would tend to induce a reasonable
                      investor to misjudge the value of the Company’s securities; and

                     Plaintiff and members of the Class purchased, acquired and/or sold GEO Group
                      securities between the time the Defendants failed to disclose or misrepresented
                      material facts and the time the true facts were disclosed, without knowledge of
                      the omitted or misrepresented facts.

          45.       Based upon the foregoing, Plaintiff and the members of the Class are entitled to a

  presumption of reliance upon the integrity of the market.

          46.       Alternatively, Plaintiff and the members of the Class are entitled to the presumption

  of reliance established by the Supreme Court in Affiliated Ute Citizens of the State of Utah v.

  United States, 406 U.S. 128, 92 S. Ct. 2430 (1972), as Defendants omitted material information in

  their Class Period statements in violation of a duty to disclose such information, as detailed above.

                                                  COUNT I

          (Violations of Section 10(b) of the Exchange Act and Rule 10b-5 Promulgated
                               Thereunder Against All Defendants)

          47.       Plaintiff repeats and re-alleges each and every allegation contained above as if fully

  set forth herein.




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         48.     This Count is asserted against Defendants and is based upon Section 10(b) of the

  Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder by the SEC.

         49.     During the Class Period, Defendants engaged in a plan, scheme, conspiracy and

  course of conduct, pursuant to which they knowingly or recklessly engaged in acts, transactions,

  practices and courses of business which operated as a fraud and deceit upon Plaintiff and the other

  members of the Class; made various untrue statements of material facts and omitted to state

  material facts necessary in order to make the statements made, in light of the circumstances under

  which they were made, not misleading; and employed devices, schemes and artifices to defraud in

  connection with the purchase and sale of securities. Such scheme was intended to, and, throughout

  the Class Period, did: (i) deceive the investing public, including Plaintiff and other Class members,

  as alleged herein; (ii) artificially inflate and maintain the market price of GEO Group securities;

  and (iii) cause Plaintiff and other members of the Class to purchase or otherwise acquire GEO

  Group securities and options at artificially inflated prices. In furtherance of this unlawful scheme,

  plan and course of conduct, Defendants, and each of them, took the actions set forth herein.

         50.     Pursuant to the above plan, scheme, conspiracy and course of conduct, each of the

  Defendants participated directly or indirectly in the preparation and/or issuance of the quarterly

  and annual reports, SEC filings, press releases and other statements and documents described

  above, including statements made to securities analysts and the media that were designed to

  influence the market for GEO Group securities. Such reports, filings, releases and statements were

  materially false and misleading in that they failed to disclose material adverse information and

  misrepresented the truth about GEO Group’s finances and business prospects.

         51.      By virtue of their positions at GEO Group, Defendants had actual knowledge of

  the materially false and misleading statements and material omissions alleged herein and intended



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  thereby to deceive Plaintiff and the other members of the Class, or, in the alternative, Defendants

  acted with reckless disregard for the truth in that they failed or refused to ascertain and disclose

  such facts as would reveal the materially false and misleading nature of the statements made,

  although such facts were readily available to Defendants. Said acts and omissions of Defendants

  were committed willfully or with reckless disregard for the truth. In addition, each Defendant

  knew or recklessly disregarded that material facts were being misrepresented or omitted as

  described above.

         52.     Information showing that Defendants acted knowingly or with reckless disregard

  for the truth is peculiarly within Defendants’ knowledge and control. As the senior managers

  and/or directors of GEO Group, the Individual Defendants had knowledge of the details of GEO

  Group’s internal affairs.

         53.     The Individual Defendants are liable both directly and indirectly for the wrongs

  complained of herein.       Because of their positions of control and authority, the Individual

  Defendants were able to and did, directly or indirectly, control the content of the statements of

  GEO Group. As officers and/or directors of a publicly-held company, the Individual Defendants

  had a duty to disseminate timely, accurate, and truthful information with respect to GEO Group’s

  businesses, operations, future financial condition and future prospects.       As a result of the

  dissemination of the aforementioned false and misleading reports, releases and public statements,

  the market price of GEO Group securities was artificially inflated throughout the Class Period. In

  ignorance of the adverse facts concerning GEO Group’s business and financial condition which

  were concealed by Defendants, Plaintiff and the other members of the Class purchased or

  otherwise acquired GEO Group securities at artificially inflated prices and relied upon the price of




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  the securities, the integrity of the market for the securities and/or upon statements disseminated by

  Defendants, and were damaged thereby.

            54.   During the Class Period, GEO Group securities were traded on an active and

  efficient market. Plaintiff and the other members of the Class, relying on the materially false and

  misleading statements described herein, which the Defendants made, issued or caused to be

  disseminated, or relying upon the integrity of the market, purchased or otherwise acquired shares

  of GEO Group securities at prices artificially inflated by Defendants’ wrongful conduct. Had

  Plaintiff and the other members of the Class known the truth, they would not have purchased or

  otherwise acquired said securities, or would not have purchased or otherwise acquired them at the

  inflated prices that were paid. At the time of the purchases and/or acquisitions by Plaintiff and the

  Class, the true value of GEO Group securities was substantially lower than the prices paid by

  Plaintiff and the other members of the Class. The market price of GEO Group securities declined

  sharply upon public disclosure of the facts alleged herein to the injury of Plaintiff and Class

  members.

            55.   By reason of the conduct alleged herein, Defendants knowingly or recklessly,

  directly or indirectly, have violated Section 10(b) of the Exchange Act and Rule 10b-5

  promulgated thereunder.

            56.   As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and the

  other members of the Class suffered damages in connection with their respective purchases,

  acquisitions and sales of the Company’s securities during the Class Period, upon the disclosure

  that the Company had been disseminating misrepresented financial statements to the investing

  public.




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                                              COUNT II

      (Violations of Section 20(a) of the Exchange Act Against The Individual Defendants)

         57.     Plaintiff repeats and re-alleges each and every allegation contained in the foregoing

  paragraphs as if fully set forth herein.

         58.     During the Class Period, the Individual Defendants participated in the operation

  and management of GEO Group, and conducted and participated, directly and indirectly, in the

  conduct of GEO Group’s business affairs. Because of their senior positions, they knew the adverse

  non-public information about GEO Group’s misstatement of income and expenses and false

  financial statements.

         59.     As officers and/or directors of a publicly owned company, the Individual

  Defendants had a duty to disseminate accurate and truthful information with respect to GEO

  Group’s financial condition and results of operations, and to correct promptly any public

  statements issued by GEO Group which had become materially false or misleading.

         60.     Because of their positions of control and authority as senior officers, the Individual

  Defendants were able to, and did, control the contents of the various reports, press releases and

  public filings which GEO Group disseminated in the marketplace during the Class Period

  concerning GEO Group’s results of operations. Throughout the Class Period, the Individual

  Defendants exercised their power and authority to cause GEO Group to engage in the wrongful

  acts complained of herein. The Individual Defendants therefore, were “controlling persons” of

  GEO Group within the meaning of Section 20(a) of the Exchange Act. In this capacity, they

  participated in the unlawful conduct alleged which artificially inflated the market price of GEO

  Group securities.




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         61.     Each of the Individual Defendants, therefore, acted as a controlling person of GEO

  Group. By reason of their senior management positions and/or being directors of GEO Group,

  each of the Individual Defendants had the power to direct the actions of, and exercised the same

  to cause, GEO Group to engage in the unlawful acts and conduct complained of herein. Each of

  the Individual Defendants exercised control over the general operations of GEO Group and

  possessed the power to control the specific activities which comprise the primary violations about

  which Plaintiff and the other members of the Class complain.

         62.     By reason of the above conduct, the Individual Defendants are liable pursuant to

  Section 20(a) of the Exchange Act for the violations committed by GEO Group.


                                      PRAYER FOR RELIEF

  WHEREFORE, Plaintiff demands judgment against Defendants as follows:

         A.      Determining that the instant action may be maintained as a class action under Rule

  23 of the Federal Rules of Civil Procedure, and certifying Plaintiff as the Class representative;

         B.      Requiring Defendants to pay damages sustained by Plaintiff and the Class by reason

  of the acts and transactions alleged herein;

         C.      Awarding Plaintiff and the other members of the Class prejudgment and post-

  judgment interest, as well as their reasonable attorneys’ fees, expert fees and other costs; and

         D.      Awarding such other and further relief as this Court may deem just and proper.

                                 DEMAND FOR TRIAL BY JURY

         Plaintiff hereby demands a trial by jury.

  Dated: July 7, 2020

                                                          Respectfully submitted,

                                                          /s/ Jayne A. Goldstein
                                                          Jayne A. Goldstein

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